                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

IN RE:

ISSAM HAMADE,                                               Case No. 11-68553-wsd
                                                            Chapter 13
                                                            Hon. Walter Shapero
      Debtor.
_____________________________________/


    OPINION DENYING CREDITOR’S OBJECTION TO CONFIRMATION OF
 DEBTOR’S CHAPTER 13 PLAN AND DETERMINING AMOUNT OF CREDITOR’S
                         PROOF OF CLAIM


                                    FACTUAL BACKGROUND

    In April 2010, Issam Hamade (hereinafter, “Debtor”) leased commercial space from Ibrahim

Cacani (hereinafter, “Creditor”). The property in Dearborn Heights, Michigan (hereinafter, “the

Premises”) was to be used by Debtor for operating a restaurant. Debtor and Creditor signed a

written lease agreement (hereinafter, “the Lease”) commencing May 15, 2010. The Lease

included “all equipment now in the [P]remises.” Section 13 of the Lease requires that Debtor

obtain Creditor’s written consent before making any alteration, addition, or improvement to the

Premises and also states that upon the termination of the Lease, additions or improvements,

except movable office equipment and trade fixtures put in at the expense of Debtor, shall remain

on the Premises and be the property of Creditor.

    The operation was troubled from the moment Debtor took possession of the Premises.

Debtor claims that the Premises was in poor condition and that much of the equipment was

unusable. In preparing to open the restaurant, Debtor alleges he spent significant sums of money

renovating and refurnishing the Premises. Debtor removed several pieces of existing equipment,

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either by disposing of or scrapping them. Creditor and Debtor largely disagree about exactly

what equipment was originally on site, as well as the age, condition, and value of such. Debtor

claims that, during a phone call, Creditor impliedly consented to Debtor’s removal of equipment.

Creditor denies giving such consent and states that, in any event, the alleged verbal consent

would be ineffective because the Lease requires that such be in writing.

    Debtor eventually opened for business as the Pita Kabob Grill, but later defaulted on his rent

obligations. On October 25, 2011, Creditor obtained a state court judgment against Debtor for

(a) damages for unpaid rent and (b) an order of eviction, effective November 3, 2011. Debtor

thereafter filed for bankruptcy and proposed a Chapter 13 plan (hereinafter, “the Plan”). Creditor

filed a Proof of Claim for the sum of $198,074.96, composed of (a) the state court unpaid rent

judgment; (b) litigation sanctions associated with the unpaid rent suit; (c) damages for the

alleged conversion of the restaurant equipment originally on site; and (d) treble damages, costs,

and litigation fees, in treating the conversion claim as that pursuant to Michigan’s statutory

conversion law. The issues before the Court are (a) Creditor’s objection to the confirmation of

the Plan on grounds that Debtor did not propose it in good faith and (b) Debtor’s objection to

Creditor’s Proof of Claim.

    The Court denies Creditor’s objection to the confirmation of Debtor’s Plan and sustains

Debtor’s objection to Creditor’s Proof of Claim in part and denies it in part.



                                            DISCUSSION

            I. The Issue of Debtor’s Good Faith in Proposing the Chapter 13 Plan

    A bankruptcy court shall only confirm a Chapter 13 plan if the debtor has proposed it in

good faith and not by unlawful means. 11 U.S.C. § 1325(a)(3),(7); Marrama v. Citizens Bank of

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Mass., 549 U.S. 365, 378 (2007). “As proponent of the plan, Debtor bears the burden of proving

that the requisite tests for confirmation have been met. Thus, Debtor must persuade this Court

that his proposed plan meets the statutory bases for confirmation contained in 11 U.S.C. § 1325.”

In re Rose, 101 B.R. 934, 938 (Bankr. S.D. Ohio 1989) (internal citations omitted). The debtor

must be honest, forthcoming, truthful, and frank, both to the bankruptcy court and to creditors.

The appropriateness of dismissal for lack of good faith hinges on this inquiry. In re Alt, 305 F.3d

413, 421 (6th Cir. 2002).

       Good faith is an amorphous notion, largely defined by factual inquiry. In a good
       faith analysis, the infinite variety of factors facing any particular debtor must be
       weighed carefully. We cannot here promulgate any precise formulae or
       measurements to be deployed in a mechanical good faith equation. The
       bankruptcy court must ultimately determine whether the debtor’s plan, given his
       or her individual circumstances, satisfies the purposes undergirding Chapter 13: a
       sincerely-intended repayment of pre-petition debt consistent with the debtor’s
       available resources. The decision should be left simply to the bankruptcy court’s
       common sense and judgment….[C]ourts should take into account the totality of
       the circumstances confronting a debtor, not simply his or her pre-plan conduct,
       when deciding whether or not to confirm a Chapter 13 plan.

In re Okoreeh-Baah, 836 F.2d 1030, 1033-34 (6th Cir. 1988) (citing Memphis Bank & Trust Co.

v. Whitman, 692 F.2d 427 (6th Cir. 1982)) (footnote omitted).

    The non-exhaustive list of criteria for a bankruptcy court to consider is as follows:

       (1) the amount of the proposed payments and the amount of the debtor’s surplus;
       (2) the debtor’s employment history, ability to earn and likelihood of future
           increase in income;
       (3) the probable or expected duration of the plan;
       (4) the accuracy of the plan’s statements of the debts, expenses and percentage
           repayment of unsecured debt and whether any inaccuracies are an attempt to
           mislead the court;
       (5) the extent of preferential treatment between classes of creditors;
       (6) the extent to which secured claims are modified;
       (7) the type of debt sought to be discharged and whether any such debt is
           nondischargeable in Chapter 7;
       (8) the existence of special circumstances such as inordinate medical expenses;


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              (9) the frequency with which the debtor has sought relief under the Bankruptcy
                  Reform Act;
              (10) the motivation and sincerity of the debtor in seeking Chapter 13 relief;
              (11) the burden which the plan’s administration would place upon the trustee;
                   and,
              (12) whether the debtor is attempting to abuse the spirit of the Bankruptcy Code.


In re Caldwell, 895 F.2d 1123, 1126-27 (6th Cir. 1990) (citing In re Okoreeh-Baah, 836 F.2d at

1032 and Matter of Kull, 12 B.R. 654, 659 (Bankr. S.D. Ga. 1981)). See also In re Alt, 305 F.3d

at 419. These twelve factors will be addressed in turn.


(1) The amount of the proposed payments and the amount of Debtor’s surplus

         Debtor’s Plan will result in a less than three percent dividend to unsecured creditors. That

three percent figure assumes a finding that Debtor is liable for treble damages on Creditor’s

conversion claim and litigation sanctions on the unpaid rent judgment. To the extent that

assumption is unwarranted (which the Court finds to be the case), that percent would increase.1

         In any case, “good faith does not necessarily require substantial repayment of the unsecured

claims[.]” In re Caldwell, 851 F.2d at 859 (quoting Public Finance Corp. v. Freeman, 712 F.2d

219, 221 (5th Cir.1983)). “Bankruptcy decisions have ranged from confirmation of zero percent

plans to requiring 70 percent plans. Many courts have chosen to apply a flexible standard… in

determining whether good faith exists.” In re Celeste, 9 B.R. 392, 393 (Bankr. N.D. Ohio 1981)

(footnotes omitted) (confirming a Chapter 13 plan that proposed an eight percent dividend to

unsecured creditors). The Plan does not lack good faith simply because the dividend to

unsecured creditors is low.



                                                            
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 Debtor’s Schedule F declares a total of $38,866.44 of unsecured claims, including a debt to Creditor in the amount
of $25,000.00 for the unpaid rent (significantly less than the damages Creditor claims).
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(2) Debtor’s employment history, ability to earn, and likelihood of future increase in
income

    Debtor makes a credible claim of a stable income as the manager and operator of a different

restaurant in Ann Arbor, Michigan, in which he owns a 50% partnership share, and claims the

restaurant has a value in the area of $50,000 to $60,000. Debtor receives a modest monthly

salary, which, while unlikely to increase significantly in the near future, can partially be used to

fund his Plan. Such facts, along with the others, militate in favor of a finding of good faith.


(3) The probable or expected duration of the Plan

    The Plan proposes payments to Creditor over a period of five years and the Court thus sees

no reason to find that this factor weighs against good faith.


(4) The accuracy of the Plan’s statements of the debts, expenses, and percentage
repayment of unsecured debt and whether any inaccuracies are an attempt to mislead the
Court

    Creditor argues that Debtor has engaged in a pattern of evasiveness and untruthfulness in

proposing the Plan. These allegations specifically involve Debtor’s conduct during the discovery

process and his disclosures on the Statement of Financial Affairs.

    First, Creditor argues that Debtor failed to provide frank and full responses to some of

Creditor’s interrogatories. Debtor was initially either unable or unwilling to provide the address

of Debtor’s nephew, Mohamad Yassin, who had loaned money to Debtor, so that Creditor’s

counsel may depose him, subpoena him, or both. Debtor did provide Mr. Yassin’s name,

telephone number, and the fact that he resides in Dearborn, Michigan. Whether Debtor failed to

provide the address due to evasiveness or to genuine failure to remember is not clear from the

record. Regardless, the matter is relatively inconsequential in any event, and bears little

relevance to the issue of good faith in proposing the Plan.
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    Second, Creditor argues that post-filing, Debtor failed to provide facts or documents relating

to a loan from Mr. Yassin, nor any documents relating to the sale of real estate to Debtor’s sister.

Both transactions were of a very informal nature. It is a fact that both Debtor and Creditor

habitually carried out their respective businesses in an informal manner, often forgoing

formalities of documentation, particularly when it came to Debtor’s financial transactions with

family members. In light of the testimony offered, both noted transactions reflect some sort of

“mutual verbal understanding” on behalf of the transacting parties. It is probable that documents

relating to these transactions were never drafted, and thus could not be disclosed to Creditor

during discovery. Further, Creditor had the opportunity to examine Debtor regarding both

transactions and, in fact, used that opportunity to obtain more information. Whatever testimony

Creditor could have obtained through the discovery process, he obtained, or could have obtained,

at the evidentiary hearing. Regardless, these alleged omissions during the discovery process

generally do not weigh heavily against a finding of good faith.

    Creditor argues as relevant to good faith Debtor’s failure to disclose on his Statement of

Financial Affairs the debt from the loan from Mr. Yassin and Debtor’s receipt of money from a

land sale, hereinafter detailed, both of which took place before Debtor filed for bankruptcy. As

noted, the loan transaction was of a very informal nature. Debtor and Mr. Yassin apparently

reached a verbal agreement that Mr. Yassin would loan money to Debtor, but they failed to agree

upon terms for repayment. Debtor testified that the loan obligation was wholly conditional on

his ability to repay and that he believed Mr. Yassin had no intent to sue in the event of a default.

For this reason, Debtor states that he failed to include the loan on his schedules because he

believed it to be separate and apart from the bankruptcy process. This is somewhat reinforced by

the fact that Mr. Yassin has not filed a Proof of Claim. Yes, Debtor should have included that

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debt on his Schedules, despite its informal nature. However, this omission appears

inconsequential, and most importantly, the Court sees no deceptive intent by Debtor and,

regardless, its weight on the issue of good faith is minor.

         With regard to Debtor’s alleged income from a land sale, the details remain murky, though

the evidence Debtor provided is somewhat inconsistent. During his January 2012 deposition,

Debtor gave testimony that he received $55,000 from a land sale in Lebanon in the form of cash,

check, or some combination of the two. (Exhibit 6, pgs. 19-22). In his April 2012 response to

Creditor’s interrogatories and in response to the question “…did you transfer or sell any interest

in any real property anywhere in the world?” Debtor responded “Yes, sold land in Lebanon.”

(Exhibit 7, pg. 9). This answer might indicate that Debtor sold land that he personally owned

and that he obtained money from the sale. However, at the evidentiary hearing, Debtor testified

that the land in question was owned by Debtor’s mother and that he did not receive cash from

this sale, but rather, he obtained relief from a debt he owed to his sister, by virtue of having acted

as a guarantor for his brother’s obligation to pay rent to Debtor’s sister. When the brother

defaulted on this obligation, Debtor thus became indebted to his sister. Debtor claims that his

mother sold the land to the sister at a large discount in order to relieve Debtor from this

obligation. Thus, if true, Debtor’s benefit from the land sale was in the form of debt forgiveness,

rather than money. It remains unclear whether the interrogatory response was the product of a

failure to understand the question2 or whether Debtor knowingly provided false testimony.

         Debtor’s explanation of the land sale transaction, if believed, fails to answer the question of

where Debtor obtained the money to renovate the restaurant, which was the reason why the

question was originally asked. Failing to include this transaction on his Statement of Financial
                                                            
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 As part of the same interrogatory, when Debtor was asked to state the value of each interest in land he transferred,
he responded “Unable to understand question.” There was no follow up.
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Affairs does weigh against a finding of good faith, though that is ameliorated by his amending

his Statement of Financial Affairs to reflect a payment to his sister, who is listed as a creditor, in

the amount of $25,000. On balance, this item might be a negative in the good faith inquiry.


(5) The extent of preferential treatment between classes of creditors

    This factor is not relevant to the inquiry here.


(6) The extent to which secured claims are modified

    This factor is not relevant to the inquiry here.


(7) The type of debt sought to be discharged and whether any such debt is
nondischargeable in Chapter 7

    Creditor argues that, because Debtor allegedly converted the replacement restaurant

equipment, which the terms of the Lease required him to leave on the Premises and in

Creditor’s possession, the underlying cause of this debt was a willful and malicious

injury, making the debt nondischargeable in a Chapter 7 case, pursuant to § 523(a)(6).

The argument is that by filing for Chapter 13 (where such a debt can be discharged if all

payments under the plan are completed) rather than Chapter 7, Debtor was attempting to

escape that obligation and that such is evidence of bad faith.

    In Chapter 13 bankruptcy, debtors often seek to discharge debts stemming from their

willful and malicious acts. Yet courts do not find that all such Chapter 13 plans are

lacking in good faith. A debt that follows a willful and malicious act can, in fact, be

discharged through a Chapter 13 bankruptcy. See In re Caldwell, 895 F.2d at 1126.

However, “Courts should not approve Chapter 13 plans which are nothing more than

‘veiled’ Chapter 7 plans.” Id. (citing In re Girdaukas, 92 B.R. 373, 377 (Bankr. E.D.

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Wis. 1988)). Also, it is important to distinguish between bad faith in incurring the debt

and bad faith in proposing the bankruptcy plan. The Court rejects the notion that a

Chapter 13 plan is, perforce and for that reason alone, lacking in good faith simply

because the underlying debt was incurred in a willful and malicious manner.

     For purposes of considering its effect on the good faith issue, one does not need to

actually and finally decide the issue of dischargeability. That is for another time and in

the context of another proceeding designated for that purpose. For purposes of this

aspect of the good faith inquiry, it suffices to say that (a) Creditor alleges the debt is

nondischargeable under § 523(a)(6), which requires a finding of both willfulness and

maliciousness; and (b) based on the limited evidence adduced at the hearing, while

Debtor’s alleged conversion appears to reflect the element of willfulness, it is highly

questionable whether there exists the required element of maliciousness. So, at best,

there is a legal issue as to the dischargeability of the debt. Keeping in mind that the

dischargeability of the debt is but one of the many considerations relevant to the good

faith issue, and, even assuming for purposes of argument that the debt is

nondischargeable, the Court still must decide the weight to be given to that factor out of

those many other considerations. Furthermore, the less clear the ultimate decision on

dischargeability, the less weight that should be accorded that factor.

     What is involved here is not a “veiled” Chapter 7 plan. Debtor’s schedules list some

thirteen unsecured creditors other than Creditor, as well as one priority creditor and two

secured claims – one on a residence he indicates he is surrendering and the other a water

bill. The liquidation analysis indicates some $4,010.90 as being available for creditors in

a Chapter 7 case (with the debt to Creditor listed at $25,000 out of a total unsecured debt

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listed at $38,166.44). Under these circumstances, the weight to be given this factor is

minimal.


(8) The existence of special circumstances such as inordinate medical expenses

     This factor is not relevant to the inquiry here.


(9) The frequency with which Debtor has sought relief under the Bankruptcy Reform Act

     Debtor admittedly filed for bankruptcy previously, but around fourteen years ago.

The debts from the earlier filing are not related to the current case. There is no indication

that Debtor is attempting to evade his obligations or subvert the bankruptcy system

through repeated filings. In this regard, Debtor met his burden in demonstrating good

faith.


(10) The motivation and sincerity of Debtor in seeking Chapter 13 relief

     The Court views Debtor’s motivation for filing Chapter 13 bankruptcy as an attempt

to find relief from his debts and gain a fresh financial start. Debtor seeks to repay his

creditors insofar as he is capable. The evidence does not support a conclusion that

Debtor’s motivation and sincerity are questionable.


(11) The burden that the Plan’s administration would place upon the trustee

     This factor is not relevant to the inquiry here.


(12) Whether Debtor is attempting to abuse the spirit of the Bankruptcy Code

         The [Bankruptcy] Code’s central purpose is remedial: to afford the honest but
         unfortunate debtor “a new opportunity in life with [sic] a clear field for future
         effort, unhampered by the pressure and discouragement of preexisting debt.” But
         debtors who do not file in good faith and seek to abuse the bankruptcy process
         should not be afforded relief.
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In re Pike, 258 B.R. 876, 880-81 (Bankr. S.D. Ohio 2001) (quoting Loc. Loan Co. v. Hunt, 292

U.S. 234, 244 (1934)) (internal citations omitted). The spirit of the Bankruptcy Code is to

provide burdened debtors with a fresh start and to enable them to recuperate financially, which is

consistent with the situation here.

    In sum, while some of the factors might be considered as negatively affecting good faith,

consideration of them all, and affording them their proper weight, requires a conclusion that

Debtor has carried his burden of proving good faith.



                               II. The Amount of Creditor’s Claim

    Creditor’s objected-to Proof of Claim seeks (a) $18,536.96 for unpaid rent for the leased

Premises, arising from a state court judgment for that amount, together with $5,625 for litigation

sanctions stemming from these state court proceedings; (b) $57,970 for Debtor’s alleged

conversion of property belonging to Creditor; and (c) treble damages based on Creditor’s claim

of statutory conversion, together with attorney’s fees and costs.

    The applicable law on the burden of proof in respect to claims and objections may be stated

as follows: (a) the filed claim, if it meets the filing requirements as to form and content, is prima

facie proof of its validity; (b) the burden of going forward then shifts to the objecting party to

produce evidence sufficient to negate the prima facie validity of the filed claim, i.e. evidence,

which, if believed, would refute an allegation essential to the claim’s validity; and (c) if the

objecting party carries that burden, the ultimate burden of proof is on the claimant to prove the

validity of the claim by a preponderance of the evidence. See eg: In re Kemmer, 315 B.R. 706,

711 (Bankr. E.D. Tenn. 2004).


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A. The Claim for Unpaid Rent and Associated Litigation Sanctions

    Debtor does not dispute the $18,536.96 debt, but objects to Creditor’s claim for litigation

sanctions. In the state court judgment’s space labeled “Costs,” there is no number. Neither the

judgment nor any other submission mentions any litigation sanctions. At the evidentiary

hearing, neither Creditor nor his attorney was able to substantiate the alleged litigation sanctions.

Creditor admitted that he was unaware of the source of this claim. Debtor’s objection to this

aspect of the claim is sustained.


B. The Claim for Conversion of Equipment

    Creditor claims that Debtor wrongfully sold, scrapped, or otherwise disposed of the

equipment belonging to Creditor that was originally on the leased Premises. Creditor composed

a list of equipment that he claims was on the Premises at the beginning of the Lease, testifying,

however, that he composed this list shortly after Debtor was evicted, and some time after Debtor

disposed of the equipment. Creditor concedes he had rarely visited the Premises and then only

for short periods of time, but was somehow able to make this list from memory. He testified that

the Premises was “torn apart” at the time he made the list and recalls having difficulty

remembering what items used to be there. Creditor also claims this is only a partial list of the

items and that some “small items” were not included. On this list, a small minority of items have

an indication of their age. The rest are supposedly around ten years old. Each item on the list

has a price, but no indication how Creditor reached that valuation or its source. The total value

of all listed items is $57,970. Because Creditor’s claim includes his identifying information,

basis for claim, amounts claimed, and is corroborated by a supporting document, it is prima facie

evidence of that claim. The only item for which Creditor has not established a prima facie case


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is the slicer machine, which Creditor listed on Exhibit 2 but later testified he did not believe

actually belonged to him.

    What is to be noted in this case is that (a) Creditor is the only witness to testify as to the

value of the indicated items in dispute and did not produce any third party or expert testimony on

the subject; (b) Debtor did not himself even testify as to any of those values, let alone produce

any third party or expert evidence on the subject; and (c) Debtor argues only that Creditor’s

testimony on values is not worthy of belief and thus should be ignored, in whole or in part.

    Debtor contests what he believes to be Creditor’s “inflated” values, testifying that much of

the equipment on the Premises was unusable, rusted, unsanitary, and worthless, and was

disposed or sold for scrap for those reasons. Debtor also questions Creditor’s valuation methods.

Indeed, Creditor was unable to explain in any detail how he reached these figures, other than that

he consulted restaurant supply catalogues and had his son consult restaurant supply websites.

Although Creditor was unable to name the catalogues or websites used, he claims to have

utilized the value of used equipment in reaching what he described as “low” values. The

equipment was not insured by either party. Creditor’s testimony may be properly characterized

as off the top-of-my-head estimates that are largely unsubstantiated.

    There are multiple categories of items that the Court can address separately. First, there are

items for which Creditor established a prima facie case and which Debtor has admitted were on

the Premises, but for which Debtor has specifically challenged the inherent credibility of

Creditor’s valuations. Those consist of: a second grill, presently valued at $5,500, which

Creditor claims he purchased for about $7,500 around the year 2000; an ice cream freezer with

sliding doors, which he purchased for about $5,000 around the year 2000, with a present value of

$3,800; and coffee cups (with no specification as to the quantity), valued at $180. Debtor

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challenges the condition of this last item, claiming that they were “mostly broken” and says, as to

the others, that they depreciated over a ten or so year period, which would make them worthless.

As to this category, the Court agrees with Debtor and denies Creditor’s Proof of Claim in

entirety as to such.

    Next, there are items as to which each party simply stated its account of their existence, to

wit: a cash register, pie case with sliding doors, security cameras, soup warmer, tv and stereo

with speakers, and a two door refrigerator. Debtor’s testimony that these items were never

originally on the Premises meets Creditor’s testimony with equal force and is sufficient to rebut

Creditor’s prima facie case, and thereafter, Creditor offered no testimony that supports the claims

at all, let alone by a preponderance of the evidence. In addition to these items, Debtor

adequately rebutted Creditor’s assertion that Debtor converted eleven pictures by stating that

they are in Debtor’s home and that Creditor is free to recover them and, believing Debtor, that

ends the matter as to these items.

    Last, there are several items as to which Creditor established prima facie claim validity that

Debtor did not sufficiently rebut or challenge, i.e. Debtor does not specifically challenge

Creditor’s valuation beyond simply declaring that all of those items were worthless. With regard

to these items, Debtor’s objection to Creditor’s Proof of Claim is denied and Debtor is

appropriately liable for some amount as to the following items: coffee table with drawers, deep

fryer, dishes, egg burner with four burners, freezer, garbage disposal, glass cups, grill, ice

machine, neon lights/signs, pots and pans, seven pairs of custom window blinds, silverware, soup

warmer table, stainless steel cutting table with shelves, steam table, two dish carts, two-door

sandwich unit fridge, two-door stainless refrigerator, a second two-door stainless refrigerator,



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two-door upright freezer, and water glasses. The total value of these items, as listed on Exhibit 2

is $33,280.

    The Court is not persuaded by the accuracy of the list of these items Creditor provided, nor

the values it asserts. By Creditor’s own admission, he composed the list from his memory of the

Premises, which he did not visit often. What is to be weighed here is Creditor’s motive to inflate

the values, particularly as Creditor had just obtained a judgment against Debtor for unpaid rent,

which has not been paid, as against the logic of Debtor throwing away items that were still

valuable. Were these items still useful and in good condition, as Creditor contends, logic would

indicate that either Debtor would have kept and used them, rather than borrowing money to

replace them, or that Creditor would have taken more prompt steps to realize their value. The

problem in this regard is the lack of affirmative proof of the values emanating from the Debtor.

Given that, and in light of the apparent age of the subject items and the various other recited

facts, the Court concludes the value of these items should be set at $7,000. The Court is

persuaded that Debtor likely acted in good faith in disposing of the items, whether or not

pursuant to any actual or implied oral consent from the Creditor.


C. The Claim for Treble Damages, Attorney’s Fees, and Costs

    As noted, Creditor makes a claim for treble damages, together with attorney’s fees and

costs, pursuant to Michigan’s statutory conversion law, which states that a person damaged as a

result of a theft, embezzlement, or conversion “may recover 3 times the amount of actual

damages sustained, plus costs and reasonable attorney fees[.]” M.C.L. § 600.2919a (emphasis

added). “[T]reble damages are permissive. Therefore, the trier of fact has the discretion to

decide whether to award treble damages[.]” LMT Corp. v. Colonel, L.L.C., 294063, 2011 WL

1492589 (Mich. App. 2011) (citing Manuel v. Gill, 481 Mich. 637, 647 (2008)). The Court does
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not believe this situation is even factually close to being appropriate for using its discretion to

grant treble damages, costs, nor attorney’s fees to Creditor, and sees no legal reason to grant

such.

                                            CONCLUSION

    For the foregoing reasons, the Court denies Creditor’s objection to the confirmation of

Debtor’s Plan, and with regard to Debtor’s objection to Creditor’s Proof of Claim, it is sustained

in part and overruled in part. As to Creditor’s claim, it is allowed in the amounts of (a)

$18,536.96 and (b) $7,000, totaling $25,536.96. Debtor shall present an appropriate order.
                                                  .

Signed on February 15, 2013
                                                  ____ __/s/ Walter Shapero_    ___
                                                     Walter Shapero
                                                     United States Bankruptcy Judge




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